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 7   SARAH TROUT
 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                          EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                     Case No. 2:12-cr-00364 GEB
13                              Plaintiff,
14                                                   ORDER TO REMOVE
                    v.                               SHARON BARHAM-ANGULO AS
15                                                   SURETY
16   SARAH TROUT
              Defendant.
17
18          On October 16, 2012, Ms. Trout appeared in the Central District of California on
19   this case. She was released on an unsecured bond in the amount of $50,000 with her
20   aunt Sharon C. Barham-Angulo acting as the surety. Ms. Barham-Angulo’s spouse
21   recently died and she no longer wants to act as a surety for this bond. Pretrial Services
22   Officer Renee Basurto has verified that Ms. Trout’s boyfriend, Kencal Clayton, is
23   willing to be the surety for this bond and that he is acceptable to Pretrial Services.
24          A stipulation was reached between Assistant United States Attorney Jared Dolan,
25   counsel for plaintiff, and David D. Fischer, counsel for Sarah Trout, that Kencal Clayton
26   be allowed to act as the surety for Ms. Trout’s $50,000 unsecured bond and that once
27   Mr. Clayton signs the bond documents and Ms. Trout posts the bond, it was further
28   agreed that Ms. Barham-Angulo may be removed as the surety.



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 1         The Court adopted this stipulation and proposed order on September 6, 2013
 2   (please see Docket Number 78).
 3         On September 20, 2013, Mr. Clayton signed the unsecured $50,000 bond
 4   documents and Ms. Trout posted the unsecured $50,000 bond (please see Docket
 5   Number 82).    Accordingly, the defense requests that the Court order that Sharon
 6   Barham-Angulo be removed as a surety.
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 8
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10                                                     Respectfully submitted,
11
12   Dated: October 14, 2013                           /s/ David D. Fischer
                                                       DAVID D. FISCHER
13
                                                       Attorney for Defendant
14                                                     SARAH TROUT
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17         IT IS SO ORDERED
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     Dated: October 15, 2013
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